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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                        :
                                                :
       v.                                       :       CRIMINAL ACTION NO. 19-64-1, -3
                                                :
JOHN DOUGHERTY and                              :
BRIAN BURROWS                                   :


                                 MEMORANDUM OPINION

SCHMEHL, J. /s/ JLS                                                               August 1, 2024

       This Court sentenced Defendant Brian Burrows for, among other crimes, his part in a

conspiracy to embezzle the assets of the union that he helped run, the International Brotherhood

of Electrical Workers Local Union 98 (“Local 98” or the “Union”). (Judgment, ECF No. 762.)

The Court later sentenced Defendant John Dougherty for similar crimes, as well as for public

corruption charges that did not involve Mr. Burrows. (Judgment, ECF No. 778.) 1 Not long before

Mr. Burrows’s sentencing, counsel for Local 98 submitted a letter requesting that the Court impose

upon Defendants 2 $1,525,288.75 in restitution for the legal and auditors’ fees incurred by the

Union in connection with the Government’s investigation and prosecution. This claimed amount

reflects loss additional to Defendants’ restitution amounts for embezzlement of Union assets and

underpayment of taxes.     Defendants opposed this request, and given the factual and legal

complexity of the issue, the Court reserved the issue for a later determination. On July 8, 2024,



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         The Court assumes familiarity with the facts of this case. (See, e.g., Mem. Op., ECF
No. 439 (discussing public corruption trial); Mem. Op., ECF No. 747 (discussing embezzlement
trial).)
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        “Defendants” in this Memorandum refers to only Mr. Dougherty and Mr. Burrows. Their
other co-Defendants, with the exception of Anthony Massa, were sentenced before the Union
raised the present issue.
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the Court held a restitution hearing and ordered additional information from certain parties. For

the reasons set forth below, the Court now sets forth categories of professional fees that the Union

may or may not recover and orders the parties to submit a revised request based on this guidance.

       The Mandatory Victims Restitution Act (“MVRA”) requires defendants convicted of

certain crimes to pay victims restitution for “necessary child care, transportation, and other

expenses incurred during participation in the investigation or prosecution of the offense or

attendance at proceedings related to the offense.” 18 U.S.C. § 3663A(b)(4). Courts in other

circuits, and at least one sibling court within the Third Circuit, have held that this provision’s use

of “necessary . . . other expenses” includes, under the appropriate circumstances, attorneys’ fees

and other professional fees. United States v. Dodd, 978 F. Supp. 2d 404, 422–23 & n.15 (M.D.

Pa. 2013) (gathering cases). As derived from section 3663A(b)(4), the appropriate circumstances

are as follows: “(1) such expenses were necessary; (2) they were incurred while participating in

the investigation, prosecution, or attendance at proceedings regarding the offense; (3) they were

incurred by a victim as defined by the MVRA; and (4) they do not require unduly complicated

determinations of fact.” Id. at 423 (citing United States v. Gupta, 925 F. Supp. 2d 581, 584

(S.D.N.Y. 2013)). The Government bears the burden of establishing, by a preponderance of the

evidence, the proper amount of restitution. 18 U.S.C. § 3664(e).

       Many of the above considerations are not in dispute here. First, the Union represented to

the Court (and, in support, provided over 1,000 pages of invoices) that the fees it seeks arose from

the Government’s investigation and prosecution of this criminal matter.            Subject to a few

exceptions discussed below, the Union’s request therefore comports with the U.S. Supreme

Court’s narrow interpretation of the statute as only applying to “government investigations and




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criminal proceedings.” Lagos v. United States, 584 U.S. 577, 585 (2018). Second, the MVRA

defines a “victim” as follows:

               [A] person directly and proximately harmed as a result of the
               commission of an offense for which restitution may be ordered
               including, in the case of an offense that involves as an element a
               scheme, conspiracy, or pattern of criminal activity, any person
               directly harmed by the defendant’s criminal conduct in the course of
               the scheme, conspiracy, or pattern.

18 U.S.C. § 3663A(a)(2). The parties, in their letters and at the restitution hearing, did not appear

to dispute that the Union is such a victim, and the Court would not find otherwise. 3 Third, the

Court bears in mind that the restitution process should not be “unduly complicated,” Dodd, 978 F.

Supp. 2d at 423, especially given the U.S. Supreme Court’s concern with the “significant

administrative burdens” that arise from “invit[ing] disputes as to whether particular expenses . . .

were in fact ‘necessary,’” Lagos, 584 U.S. at 582.

       What remains in dispute, then, is whether the fees submitted by the Union were

“necessary.” The Court finds that, in large part, they were. Courts differ slightly, however, when



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       The Third Circuit has favorably cited a two-pronged test to determine whether an entity
was “directly and proximately harmed” for purposes of section 3663A(a)(2):

               First: Restitution should not be ordered in respect to a loss which
               would have occurred regardless of the defendant’s conduct. . . .

               Second: Even if but for causation is acceptable in theory, limitless
               but for causation is not. Restitution should not lie if the conduct
               underlying the offense of conviction is too far removed, either
               factually or temporally, from the loss.

United States v. Fallon, 470 F.3d 542, 549 (3d Cir. 2006) (quoting United States v. Vaknin, 112
F.3d 579, 589 (1st Cir. 1997)). As this Court has explained elsewhere, Defendants misused
Local 98’s assets to engage in public corruption and embezzlement. This is a quintessential case
of fees arising directly and necessarily from Defendants’ conduct; but for their actions, the Union
would not have had to hire attorneys and auditors to engage with federal criminal investigators.
Nor were the Union’s losses factually or temporally too far removed from Defendants’ conduct,
as the requested fees arose solely from the Government’s investigation into that conduct.


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parsing necessary expenses from unnecessary ones. Mr. Burrows cites to United States v. Yu for

its holding that the following expenses, inter alia, were not necessary: “fees for analyses of

insurance coverage”; “activities by counsel that predate contact with the Department of Justice”;

“fees for attending and reporting on criminal proceedings”; and “witness preparation for trial,” as

this lattermost work was “the responsibility of the government prosecutor, not private counsel.”

Yu, 2024 WL 943913, at *2 (D. Mass. Mar. 5, 2024) (quoting and citing United States v. Chan,

2019 WL 3975579, at *5–8 (D. Mass. Aug. 22, 2019)), aff’d, 981 F.3d 39 (1st Cir. 2020). The Yu

and Chan courts agreed, however, that fees incurred for the following work were necessary:

“[c]ompiling and [p]roducing [d]ocuments to the Government”; “preparation for interviews by the

government prosecutors”; and only 20 percent of the requested fees for seeking restitution, as “the

government has the burden of seeking and establishing a claim for restitution.” Id.

        The Second Circuit has likewise held that restitution may include attorneys’ fees for “work

responding to subpoenas and document requests from the” U.S. Attorney’s Office. United States

v. Afriyie, 27 F.4th 161, 173 (2d Cir.), cert. denied, 143 S. Ct. 326 (2022). The Afriyie court

differed from the Yu and Chan courts, however, when it also permitted fees for “the law firm’s

work preparing [victim] witnesses to testify at [the defendant’s] criminal trial” and “the law firm’s

representation of [the victim] in connection with post-verdict restitution proceedings.” Id. As to

witness preparation for trial, the court found that this work fell within the limits set forth by section

3663A(b)(4) and Lagos, and the court upheld the district court’s determination that this work was

“necessary” to the victim’s participation in the prosecution. Id. As to post-verdict restitution

proceedings, the court found that because restitution “occurs during the sentencing phase of a

federal criminal trial,” expenses related to those proceedings “are ‘incurred during participation in

the . . . prosecution of the offense or attendance at proceedings related to the offense’ and so may




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be recovered to the extent the district court finds them necessary.” Id. at 174 (quoting 18 U.S.C.

§ 3663A(b)(4)). And because the law firm’s “restitution recovery work for [the victim] was quite

limited[,] . . . [t]he district court acted within its discretion in allowing [the victim] to recover for

these expenses.” Id.

        Here, the parties appear to agree that the operative start date of the criminal investigation

conducted by the Department of Justice is when Federal Bureau of Investigation agents executed

search warrants on various Union and personal properties on August 5, 2016. It was at that point

that Defendants and the Union knew they were under investigation and needed to hire attorneys

and other professionals to defend against or assist with the investigation. Any professional fees

incurred before that date are not recoverable. 4

        As set forth above, courts from various jurisdictions agree that fees incurred in preparing

the victim’s employees for interviews with federal authorities are generally necessary and,

therefore, recoverable. So, too, are fees related to responding to Government investigators’

subpoenas. The Court will modify the Yu and Chan courts’ approach to the representation of

individuals testifying at trial as Government witnesses, however. The fact that Government

attorneys should play a significant role in such witnesses’ preparation does not render private

representation wholly unnecessary—at least not according to Afriyie—but this is especially true

where witnesses have not secured immunity in exchange for their testimony. The Court therefore

finds that the Union may recover fees for trial preparation for witnesses that testified without




4
        The Court provides this instruction for completeness. From the Court’s review of the over
1,000 pages of invoices submitted by the Union, it does not appear that any fees arise from work
before this date.


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immunity. 5 Conversely, the Union shall exclude from its request all fees for interviews, interview

preparation, and trial preparation that postdate a client’s receipt of immunity, as such fees are

unnecessary under a narrow construction of the MVRA. 6

       Next, the Court notes that counsel for the Union claims to have declined to seek fees for

the following work: (1) responding to the October 2020 execution of search warrants, which led

to charges in a criminal matter that did not involve Mr. Burrows (Decl. of William T. Josem ¶ 6,

ECF No. 760-1); (2) conducting an internal investigation through Ernst & Young (id. ¶ 13);

(3) investigating claims under the Union’s insurance policy (id. ¶ 15); and (4) pursuing the present

restitution claim (id. ¶ 28 n.2). The Court acknowledges counsel for the Union’s efforts in

compiling voluminous invoices but notes that a few of the above items appear to have slipped in.

For example, certain Post & Schell, P.C. invoices for work on behalf of David Clapcich and Lisa

Ketterlinus indicate that the work concerned Ernst & Young’s internal investigation. (See, e.g.,

ECF No. 758-8 at 44, 46, 48, 51; ECF No. 758-20 at 51–53, 55, 59, 61, 64.) The Lagos court

expressly excluded internal investigations from the ambit of the MVRA, 584 U.S. at 584–85, and



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        This holding applies in kind to witnesses who were called by the defense. As discussed
above, courts agree that victims may recover fees for employees’ interviews with authorities, as
such fees are “incurred during participation in the investigation or prosecution of the offense . . . .”
18 U.S.C. § 3663A(d)(4). As far as this Court can tell, no court has grounded this rule on the
extent to which the employee’s information benefits the Government’s case; fees are recoverable
regardless of whether an employee becomes a key witness for the prosecution. This Court
therefore sees no basis to hold that simply because a Union employee was ultimately called by the
defense, that employee was no longer “participat[ing] in the investigation or prosecution of the
offense,” especially given that all relevant defense witnesses here were also interviewed by the
authorities at least once. The Union may therefore recover fees for employees who became defense
witnesses, with the partial exception of Tara Chupka, who is subject to the Court’s additional ruling
about certain fees that postdate her receipt of immunity.
6
       Responding to Government document requests to a client, however, is not the
responsibility of Government attorneys, and a grant of immunity does not remove the need to
review document productions for privilege and other concerns. Fees for this work, then, are
recoverable regardless of a grant of immunity.


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the Union should therefore eliminate all entries of this kind from its request. Similarly, a few

entries appear to relate to investigating the Union’s potential claims against its insurer. (See, e.g.,

ECF No. 758-6 at 16, 75–80, 94–95.) Again, the Lagos court held that fees must relate to criminal

proceedings, not civil ones, 584 U.S. at 581, and the Union should therefore eliminate all entries

related to reviewing insurance policies, preparing potential civil claims against the Union’s insurer,

or any other work dealing with insurance coverage. Certain entries also reflect work done in

preparation for the recent restitution proceedings. (See, e.g., ECF No. 758-5 at 11.) As in Chan,

although the Government bears the burden of establishing restitution, this Court permitted counsel

for the Union to participate in these proceedings. The Court will therefore adopt the Chan court’s

approach of permitting 20 percent of fees for this work. The Union shall isolate all relevant entries

so that this 80 percent reduction can be applied.

       Finally, whatever the Court determines the ultimate amount to be, Defendants will bear a

reduced portion of it. First, Mr. Burrows was not implicated in the public corruption charges, yet

some of the presently requested fees appear to relate to work on that portion of this case. The

Court finds that disentangling public corruption entries from embezzlement ones would be

extremely burdensome to the parties, if not impossible given the existence of hybrid entries relating

to both. Instead, the Court will start by reducing Mr. Burrow’s restitution to 50 percent of the total

allowable fees. Although 96 of the Indictment’s 116 charges (roughly 83 percent) related to the

embezzlement case that involved Mr. Burrows, those raw numbers do not reflect the full picture—

namely, that significant effort (and therefore professional fees) was expended roughly equally on

both portions of the Indictment. Indeed, the public corruption trial, though consisting of fewer

counts, took longer to complete than the embezzlement trial. The Court, having presided over




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both portions of the Indictment, finds that a 50–50 split appropriately approximates the fees

attributable to the embezzlement case (and, therefore, to Mr. Burrows).

       Second, both Defendants were acquitted on a limited number of charges, and at least some

courts acknowledge that “to hold a defendant responsible for restitution related to offenses for

which she was acquitted would essentially be to punish that defendant for acquitted conduct.” Yu,

2024 WL 943913, at *4 (citing United States v. Steward Healthcare Sys. LLC, 2023 WL 6626547,

at *2 (D. Mass. Oct. 11, 2023)).      Of the Indictment’s 116 counts, 91 applied directly to

Mr. Dougherty. Across two trials, two juries convicted Mr. Dougherty of 74 counts and acquitted

him of 6 counts; the Government voluntarily dismissed the remaining 11 counts. (Judgment, ECF

No. 778.) Of the 116 total counts, 96 related to the embezzlement case involving Mr. Burrows,

but only 24 were charged to him directly. A jury convicted him of 21 counts and acquitted him of

3 counts. (Judgment, ECF No. 762.)

       Unlike the Yu court—which reduced the defendant’s restitution to one-twelfth of the

allowable fees in order to reflect the defendant’s conviction on only one of twelve counts—this

Court finds that determining an appropriate proportion is not as simple as dividing convictions by

total charges. The Yu court was dealing with distinct, substantive charges of possession of stolen

trade secrets. 2024 WL 943913, at *4. This case, by contrast, involves Defendants convicted of

conspiracy. It is therefore inaccurate to say that only 24 of the 96 embezzlement counts applied

to Mr. Burrows; rather, many of the ostensibly unrelated counts were, in fact, tied up in the

conspiracy in which Mr. Burrows played a key role. The same is true of the 25 counts seemingly

unrelated to Mr. Dougherty. On the other hand, Defendants’ coconspirators did not plead guilty

to every charge brought against them—yet another reason that simple division is unworkable here.

The Court therefore finds that a 10 percent reduction for each Defendant appropriately




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acknowledges their acquittal of a limited number of charges without unduly crediting them for

charges that, though levied against other individuals, nonetheless arose from conspiracies for

which Defendants were convicted. In the end, Mr. Dougherty will pay 90 percent of the total

allowable fees, and Mr. Burrows will pay 40 percent (as a result of the initial 50 percent reduction

and subsequent 10 percent reduction). 7

       To efficiently effectuate the foregoing, Counsel for Defendants and the Union shall meet

and confer as to the classification of fees according to the Court’s instructions. The Court

summarizes its above holdings as follows:

               1.      The Union shall eliminate from its request any professional
                       fees incurred before August 5, 2016;

               2.      The Union may recover fees related to responding to
                       Government investigators’ document requests;




7
         Throughout the parties’ dispute as to the restitution issue, Defendants have raised concerns
about the equity of imposing restitution for the Union’s professional fees on just Defendants and
not certain co-Defendants who pleaded guilty and were sentenced prior to the Union’s request.
The Court acknowledges this position but has been unable to find—and Defendants have not
provided—authority supporting the position that if the Government or a victim failed to request
restitution as to some defendants, they cannot request it as to others.

         Similarly, Defendants argued that the Union was less-than-diligent in pursuing
reimbursement from its insurer and, as a result, is now seeking to recover—improperly, in
Defendants’ view—from Defendants instead. It is not this Court’s role to review the Union’s
litigation strategy in complicated proceedings before a different judge in a different forum. Even
if Defendants were correct that the Union should have recovered more money from its insurer,
however, that fact would not reduce the amount of restitution owed; Defendants would simply be
paying a larger portion of that restitution amount to the insurer instead of the Union. See 18 U.S.C.
§ 3664(f)(1)(B) (“In no case shall the fact that a victim has received or is entitled to receive
compensation with respect to a loss from insurance or any other source be considered in
determining the amount of restitution.”); id. § 3664(j)(1) (“If a victim has received compensation
from insurance or any other source with respect to a loss, the court shall order that restitution be
paid to the person who provided or is obligated to provide the compensation, but the restitution
order shall provide that all restitution of victims required by the order be paid to the victims before
any restitution is paid to such a provider of compensation.”).


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             3.     The Union may recover fees related to interviewing (and
                    preparing to interview) with the authorities, subject to
                    paragraph 6 below;

             4.     The Union may recover fees for trial preparation for
                    employees that testified as Government witnesses, subject to
                    paragraph 6 below;

             5.     The Union may recover fees for trial preparation for
                    employees that testified as defense witnesses, subject to
                    paragraph 6 below;

             6.     The Union shall exclude from its request all fees for
                    interviews, interview preparation, and trial preparation that
                    postdate a client’s receipt of immunity;

             7.     The Union shall exclude from its request all fees related to
                    Ernst & Young’s internal investigation;

             8.     The Union shall exclude from its request all fees related to
                    reviewing insurance policies, preparing potential civil
                    claims against the Union’s insurer, or any other work dealing
                    with insurance coverage;

             9.     The Union shall identify all fees related to litigating the
                    present restitution dispute so that the Court can apply an
                    80 percent reduction;

             10.    Counsel for Defendants and the Union shall meet and confer
                    as to the classification of fees according to the above
                    instructions so that any remaining disputes can be resolved
                    with specificity; and

             11.    Of the allowable fees that the above approach identifies, Mr.
                    Burrows shall owe 40 percent as restitution, and Mr.
                    Dougherty shall owe 90 percent as restitution.

A corresponding order accompanies this memorandum.




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